         Case 4:22-cv-03892-YGR Document 139 Filed 01/12/24 Page 1 of 7



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15                                                  Counsel for Defendants Meta Platforms, Inc.
                                                    and Meta Platforms Technologies, LLC
16
                                                    [Additional counsel listed on signature page]
17
                          IN THE UNITED STATES DISTRICT COURT
18                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
19
     GENTEX CORPORATION and INDIGO
20   TECHNOLOGIES, LLC,
21                                                   Case No. 4:22-cv-03892-YGR
                           Plaintiffs,
22                                                   JOINT MOTION TO DISMISS
     THALES VISIONIX, INC.,
23                                                   REDACTED
                           Involuntary Plaintiff,
24                                                  Date:          February 20, 2024
             v.                                     Time:          2:00 p.m.
25                                                  Location:      Courtroom 1, 4th Floor
     META PLATFORMS, INC. and META                  Judge:         Hon. Yvonne Gonzalez Rogers
     PLATFORMS TECHNOLOGIES, LLC,
26
                           Defendants.
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     JOINT MOTION TO DISMISS [REDACTED]                              CASE NO. 4:22-CV-03892-YGR
            Case 4:22-cv-03892-YGR Document 139 Filed 01/12/24 Page 2 of 7



 1            TO ALL PARTIES AND COUNSEL OF RECORD:
 2            PLEASE TAKE NOTICE THAT on February 20, 2024, at 2:00 p.m., or as soon thereafter as
 3   it may be heard, in the courtroom of Honorable Yvonne Gonzalez Rogers, located at Oakland
 4   Courthouse, Courtroom 1, 4th Floor, 1301 Clay Street, Oakland, California 94612, voluntary plaintiffs
 5   Gentex Corporation (“Gentex”) and Indigo Technologies, LLC (“Indigo”) (collectively, “Plaintiffs”)
 6   and defendants Meta Platforms, Inc. and Meta Platforms Technologies, LLC (collectively,
 7   “Defendants” or “Meta”), will and do now jointly move pursuant to Federal Rule of Civil Procedure
 8   41(a)(2) to dismiss with prejudice this action for patent infringement.
 9            Plaintiffs and Defendants have entered into a settlement agreement (the “Agreement”) that
10   includes, among other things, a full release and covenant not to sue from Plaintiffs regarding the
11   patents-in-suit. Ex. A at II.1 & II.2. A copy of the Agreement is attached hereto as Exhibit A. In the
12   Agreement, Plaintiffs and Defendants further agree that this action should be dismissed with prejudice
13   in its entirety. Ex. A at II.4 (See “Dismissals” clause). The Agreement
14                           December 21, 2023 Term Sheet attached hereto as Exhibit B (the “Term
15   Sheet”).
16            Involuntary Plaintiff Thales Visionix, Inc. (“Thales”) is also a party to the Term Sheet and
17   agreed to all of its terms. Thales’ Chief Operating Officer signed the Term Sheet, which includes
18

19                                   . Ex. B at 4, 6. All parties to the Term Sheet, including Thales, agreed
20   to dismiss this action with prejudice.1 Despite executing the Term Sheet, Thales now refuses to add
21   its signature to a Rule 41(a)(1)(ii) stipulation dismissing this action. Instead, after the Term Sheet was
22   duly executed by all parties, Thales sent an email purporting to unilaterally void its signature and
23   rescind the entire Term Sheet. Thales also now opposes this motion to dismiss, although it has offered
24   no legal basis for maintaining the action or any claims therein. Thus, Plaintiffs and Defendants have
25   been forced to file this opposed joint motion rather than a stipulation.
26

27   1
           The Agreement is between Gentex, Indigo, and Meta;
                                                                                Ex. A at IV.5.
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         JOINT MOTION TO DISMISS [REDACTED]              1                  CASE NO. 4:22-CV-03892-YGR
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 1            Thales has no legitimate basis to oppose dismissal. Even to the extent Thales takes issue with
 2   the validity of the Term Sheet or any impact it may have on Thales, those issues are irrelevant to the
 3   claims and defenses in this action, and neither permit maintaining nor provide reason to maintain this
 4   action. Gentex is the exclusive field-of-use licensee of all of the patents-in-suit (and Indigo is the
 5   former exclusive field-of-use licensee). Gentex, not Thales, asserted all of the claims in this action.
 6   Thales was joined involuntarily as a plaintiff as the assignee of the patents, pursuant only to its
 7   contractual obligation to participate in an action for patent infringement brought by Gentex. Thales
 8   did not sign the Complaint, ECF No. 1, at 39, did not serve any Rule 26(a)(1) initial disclosures, and
 9   did not serve infringement or damages contentions. Thales provided verified interrogatory responses
10   in which,
11                         . Ex. C at 20, 27 (“
12                                                                            ”); see also id. at 25 (“
13

14                                                                     .”). Thales also confirmed that
15                                                                           Id. at 24.
16            Whatever dispute Thales may now wish to raise about the specifics of the parties’ settlement
17   Term Sheet, or any of Thales’ obligations under it, has no bearing on the rights Plaintiffs granted to
18   Meta in the Agreement or the claims Plaintiffs asserted in this litigation. Thales has not disputed, and
19   cannot dispute, that Plaintiffs can grant, and have granted, to Meta, among other things (1) a full
20   release of Plaintiffs’ claims in this action, and (2) a covenant not to sue,
21                                                                . Ex. A at II.1 & II.2; Ex. B at 2, 3. Those
22   granted rights are alone sufficient to dismiss this action with prejudice and to deprive the Court of
23   subject-matter jurisdiction over all pending claims.2 There are no counterclaims. Thus, Plaintiffs and
24   Meta have settled all of their disputes in this action through the Agreement, which is mutually binding
25   on them, and the Agreement requires dismissal of this action with prejudice. Therefore, there is no
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     2
           See, e.g., Dow Jones & Co., Inc. v. Ablaise Ltd., 606 F.3d 1338, 1348 (Fed. Cir. 2010) (concluding
27         covenant not to sue extinguished any current or future case or controversy between the parties and
           divested the district court of subject matter jurisdiction).
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         JOINT MOTION TO DISMISS [REDACTED]              2                  CASE NO. 4:22-CV-03892-YGR
          Case 4:22-cv-03892-YGR Document 139 Filed 01/12/24 Page 4 of 7



 1   basis to delay timely dismissal with prejudice, whether due to the Agreement (as required) or because
 2   the only parties with any pending claims in this action have mutually agreed to its dismissal with
 3   prejudice.
 4          Accordingly, Plaintiffs and Defendants respectfully request that this action be dismissed with
 5   prejudice and the case be closed.
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      JOINT MOTION TO DISMISS [REDACTED]              3                  CASE NO. 4:22-CV-03892-YGR
         Case 4:22-cv-03892-YGR Document 139 Filed 01/12/24 Page 5 of 7



 1   Dated: January 12, 2024                     Respectfully submitted,
 2    /s/ Adam D. Harber                          /s/ Ellisen Shelton Turner
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24                                               and Meta Platforms Technologies, LLC
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     JOINT MOTION TO DISMISS [REDACTED]            4                 CASE NO. 4:22-CV-03892-YGR
          Case 4:22-cv-03892-YGR Document 139 Filed 01/12/24 Page 6 of 7



 1                                     SIGNATURE ATTESTATION
 2          Pursuant to Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of this document

 3   has been obtained from the other signatories.

 4

 5   Dated: January 12, 2024                         /s/ Adam D. Harber
                                                     Adam D. Harber
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      JOINT MOTION TO DISMISS [REDACTED]               5                   CASE NO. 4:22-CV-03892-YGR
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 1                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                                    OAKLAND DIVISION
 3    GENTEX CORPORATION and INDIGO
      TECHNOLOGIES, LLC,
 4
                             Plaintiffs,                    Case No. 4:22-cv-03892-YGR
 5
      THALES VISIONIX, INC.,                                PROPOSED ORDER
 6
                             Involuntary Plaintiff,
 7                                                       Date:          February 13, 2024
               v.                                        Time:          2:00 p.m.
 8                                                       Location:      Courtroom 1, 4th Floor
      META PLATFORMS, INC. and META                      Judge:         Hon. Yvonne Gonzalez Rogers
 9    PLATFORMS TECHNOLOGIES, LLC,
10                           Defendants.
11

12            Upon consideration of the joint motion to dismiss filed by Gentex Corporation; Indigo
13   Technologies, LLC; Meta Platforms, Inc.; and Meta Platforms Technologies, LLC, it is hereby
14            ORDERED that all of the claims are DISMISSED with prejudice, and

15            FURTHER ORDERED that this case is CLOSED.

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     Dated:
18                                                    Honorable Yvonne Gonzalez Rogers
                                                      United States District Judge
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      JOINT MOTION TO DISMISS [REDACTED]                6                 CASE NO. 4:22-CV-03892-YGR
